March 7, 2023

This corresponderice outlines details pertaining to Ms. Janessa Bointy, and the events that
occurred on March 6, 2023. Janessa attended the Edmond Public Schools, school board
meeting. She decided to speak during public comment about student mental health, janessa
Introduced herself but also chose to articulate she worked for OSDE in the Office of Student
Support. She proceeded to share data sets that align to OSDE work, In addition to sharing
specific Information about Project AWARE and urging the district to apply for the grant. That
grant ls a SAMHSA grant and districts, when applying, submit letters of collaboration from OSDE
‘and ODMHSAS. Janessa had no authorization to represent OSDE and present this information to
them.

Upon conclusion of the board meeting, Fox 25 did a ten o'clock broadcast showing exerts from
Janessa’s speech to the district, Social media posts from herself and her spouse also transpired
regarding the school board meeting. | was contacted by many external professionals asking If
she was supported by OSDE, One of those Is Jessica Hawkins from Healthy Minds. In addition,
-our former Assistant Deputy Superintendent, Elizabeth Suddath. Internal employees have also
been exposed to this and are talking.

| feel as state employees we are always representing our work and have to be careful how we
engage In community events. | feel that her behavior.in this matter exposed the agency and
projects in addition to falsely set up OSDE support for Edmond Public Schools in applying for a
federal grant.

| elected to reach out to HR by email last night requesting consultation regarding this employee
matter, When | met with Susan Miller today March 7, 2023, | presented documents showing
continued oversight needed for this employee throughout their tenure at OSDE (PMP’s and

corrective action forms). Further detailed information was requested by HR which includes this
correspondence, also shared the Edmond school board video and some social media posts (by
Janessa and her spouse) that discuss the school board meeting.

Janessa has had continued oversight during her tenure here and those Incidents were staffed
verbally with Dr. Shelly Ellis during her tenure and with Elizabeth Suddath, during her tenure.
Written documentation then started to occur on my end due to continual infractions. In
addition, the lead ership team In the office of student support are keenly aware of the consistent
redirects needed for this employee over the years.

Any other documentation that | can locate to help with a plan of action will be provided to HR
Immediately, , '

Cheryl McGee MHR, LPC, LADC/MH
9:50am Tuesday March 7th

EXHIBIT

